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                               UNITED STATES BANKRUPTCY COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                   WEST PALM BEACH DIVISION

    IN RE:                                          CASE NO. 23-17590-EPK

    MV REALTY PBC, LLC, et al.,                     CHAPTER 11

             Debtors.                               (Jointly Administered)



                       DEBTORS’ EMERGENCY APPLICATION FOR
                   ENTRY OF ORDER AUTHORIZING EMPLOYMENT OF
                  DEVELOPMENT SPECIALIST, INC., AS EXPERT WITNESS

                        The Debtors respectfully request an emergency hearing in
                        order to have the proposed expert immediate commence
                        work with respect to litigation pending before the Court.

         The Debtors1 respectfully request entry of an order of the Court authorizing the

employment of Development Specialist, Inc. (“DSI”) as expert witness for the Debtors in

Adversary No. 23-01211 (the “Adversary Proceeding”), and state as follows:




1
  The last four digits of the Debtors’ federal tax identification numbers are: MV Realty, PBC LLC (6755),
MV Realty Holdings, LLC (3483), MV Receivables II, LLC (9368), MV Receivables III, LLC, MV Realty
PBC, LLC (Pennsylvania) (7301), MV Realty of South Carolina, LLC (7322), MV Realty of North
Carolina, LLC (3258), MV of Massachusetts, LLC (0864), MV Realty of Illinois, LLC (8814), MV Realty
of Arizona, LLC (2725), MV Realty of Connecticut, LLC (8646), MV Realty PBC, LLC (Georgia) (6796),
MV Realty of New Jersey, LLC (5008), MV Realty of Washington, LLC (7621), MV Realty of Maryland,
LLC (9945), MV Realty of Virginia, LLC (2129), MV Realty of Tennessee, LLC (7701), MV Realty of
Wisconsin, LLC (2683), MV Realty of Nevada, LLC (0799), MV Realty of Oregon, LLC (3046), MV
Realty of Utah, LLC (4543), MV Realty of Minnesota, LLC (1678), MV Realty of Indiana, LLC (3566),
MV Realty of Missouri, LLC (6503), MV Homes of New York, LLC (2727), MV Realty of Idaho, LLC
(8185), MV Realty of Alabama, LLC (6462), MV Realty of Colorado, LLC (1176), MV Realty of
Oklahoma, LLC (8174), MV Realty of Louisiana, LLC (3120), MV Realty of Kansas, LLC (2304), MV
Realty of Kentucky, LLC (2302), MV Realty of California (7499), MV Realty of Texas, LLC (7182), MV
Realty of Michigan, LLC (5280) and MV Realty of Ohio, LLC (0728).
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                                 JURISDICTION AND VENUE

       1.      The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and

1334. This matter is a core proceeding pursuant to 28 U.S.C. § 157(b). Venue is proper before

this Court pursuant to 28 U.S.C. §§ 1408 and 1409.

       2.      The statutory predicate for relief requested is U.S.C. § 327(e).

                                         BACKGROUND

       3.      On September 22, 2023, the Debtors each filed a voluntary petition under Chapter

11 of Title 11 of the United States Code. The Debtors are in possession of their assets and

operating their businesses as debtors-in-possession pursuant to the authority of 11 U.S.C. §§

1107 and 1108.

       4.      The Chapter 11 cases are being jointly administered under lead case, In re: MV

Realty PBC, LLC, Case No. 23-17590-EPK.

       5.      Certain of the Debtors are the Plaintiffs in the Adversary Proceeding.

       6.      An evidentiary hearing on the Plaintiffs’ request for preliminary injunctive relief

is currently scheduled to commence on February 12, 2024.

       7.      On January 16, 2024, certain of the Defendants in the Adversary Proceeding

served an expert witness report upon the Plaintiffs (the “Plaintiffs’ Report”). The Plaintiffs’

proposed expert intends to serve as a consulting expert and, upon request, to provide an expert

report and testimony in connection with the Debtors’ claims and/or defenses, including relating

to the Debtors’ ability to reorganize.

       8.      The Plaintiffs now seek to retain DSI for purposes of serving as a consulting

expert and, upon request, providing an expert report and testimony in connection with the

Debtors’ claims and/or defenses, including relating to the Debtors’ ability to reorganize.


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        9.      On November 20, 2023, the Court entered the Order Granting Debtors’ Motion

for Entry of Order Authorizing and Establishing Monthly Compensation Procedures for

Professionals [ECF No. 251] (the “Compensations Procedures Order”).

        10.     In accordance with the Compensation Procedures Order, the Debtors are

authorized to pay 80% of requested fees, and 100% of requested compensation, incurred by

counsel, on a monthly basis, in the absence of any valid objection. Therefore, as the fees and

costs to be incurred by DSI are technically a cost, the Debtors seek authority to pay 100% of the

fees and costs to be incurred by DSI.

                                     RELIEF REQUESTED

        11.     Subject to the approval of this Court, the Debtors desire to retain DSI to serve as a

consulting expert and, upon request, to provide an expert report and testimony in connection with

the Debtors’ claims and/or defenses, including relating to the Debtors’ ability to reorganize and

with respect to the Adversary Proceeding. DSI shall be retained by counsel but will be

compensated by the Debtors.

        12.     DSI is qualified to serve as expert witness for the Plaintiffs with respect to the

Adversary Proceeding.

        13.     DSI’s depth of experience in the types of matters for which it will be employed

make DSI qualified to serve as the Plaintiffs’ expert in the Adversary Proceeding. Therefore, the

Debtors believe that DSI is well qualified to serve and that retention of DSI is in the best

interests of the estate.




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                               SERVICES TO BE RENDERED

       14.     DSI’s services are necessary and serve as a consulting expert and, upon request,

provide expert reports and testimony in connection with the Adversary Proceeding. DSI’s

proposed engagement letter is attached as Exhibit “A”.

                                SECTION 327(a) STANDARDS

       15.     Attached hereto as Exhibit “B” in support of this Application is the “Sworn

Declaration” of Mr. Joseph Luzinski (the “Declaration”). Based on the Declaration, and to the

best of the Debtors’ knowledge, neither DSI nor its personnel have any connection with the

creditors or other parties in interest or their respective attorneys, except as fras be disclosed in

the Declaration.

       16.     DSI has agreed to accept compensation for the services to be rendered and

expenses to be incurred in connection with the Adversary Proceeding in accordance with the

terms of the proposed engagement letter attached hereto as Exhibit “A”.

       17.     To the best of the Debtors’ knowledge and based on the Declaration, there are no

arrangements between DSI and any other entity to share compensation to be received in

connection with this case, other than as permitted by section 504 of the Bankruptcy Code.

       18.     Under applicable provisions of the Bankruptcy Code, and subject to the approval

of this Court, the Debtor proposes to pay DSI the standard hourly rates charged by its personnel

and to reimburse DSI for expenses incurred during the course of the engagement. The hourly

rates for DSI’s personnel range from $470.00 for most junior attorneys to $815.00 per hour. Mr.

Luzinski’s rate is $745.00 per hour.




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          19.    The hourly rates discussed above are the standard hourly rates charged by DSI to

all clients. These rates are subject to adjustment, generally on an annual basis to reflect, among

other things, seniority.

          20.    Again, attached to this Application as Exhibit “B” is the Declaration

demonstrating that Mr. Luzinski and DSI do not represent or hold any interest adverse to the

Debtors or to the estate with respect to the matter on which they are being retained, as required

by 11 U.S.C. § 327(a) and Bankruptcy Rule 2014, except as provided therein. Mr. Luzinski and

DSI are also “disinterested” personas within the meaning of 11 U.S.C. §§ 101(14) and 327(a).

          21.    The Debtors submit that good and sufficient cause exists in support of the relief

being requested.

          WHEREFORE, the Debtors respectfully request the entry of an order in the proposed

form attached hereto as Exhibit “C”, authorizing the retention of Mr. Luzinski and DSI pursuant

to 11 U.S.C. §§ 327(a) and 330 and granting such other and further relief as this Court deems

proper.

DATED: January 18, 2024

                                              /s/ Michael D. Seese
                                              Michael D. Seese, Esq.
                                              FBN 997323
                                              Seese, P.A.
                                              101 NE 3rd Avenue, Suite 1500
                                              Fort Lauderdale, FL 33301
                                              Telephone No. (954) 745-5897

                                              Attorneys for the Debtors




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                     EXHIBIT “A”


                    Engagement Letter
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                     EXHIBIT “B”


                       Declaration
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                         UNITED STATES BANKRUPTCY COURT
                          SOUTHERN DISTRICT OF FLORIDA
                             WEST PALM BEACH DIVISION

 IN RE:                                              CASE NO. 23-17590-EPK

 MV REALTY PBC, LLC, et al.,                         CHAPTER 11

            Debtors.                                 (Joint Administration Pending)



                      SWORN DECLARATION IN SUPPORT OF
                     DEBTORS’ EMERGENCY APPLICATION FOR
                 ENTRY OF ORDER AUTHORIZING EMPLOYMENT OF
                DEVELOPMENT SPECIALIST, INC., AS EXPERT WITNESS

JOSEPH LUZINSKI, under penalty of perjury, states as follows:

       1.        I am an adult resident of the State of Florida.

       2.        I am a senior managing director with Development Specialist, Inc. (“DSI”) with

offices located at 500 West Cypress Creek Road, Suite 400, Fort Lauderdale, Florida 33309.

       3.        I submit this “Sworn Declaration” in support of the Debtors’ Emergency

Application for Entry of Order Authorizing Employment of Development Specialist, Inc., as

Expert Witness (the "Application") in the above-styled Chapter 11 case (the “Case”) and

Adversary Proceeding (as defined in the Application).

       4.        The names, addresses, telephone numbers and e-mails and personnel that are

expected to be primarily responsible for these matters are:
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                                          Joseph J. Luzinski
                                    Development Specialists, Inc.
                                   500 West Cypress Creek Road
                                              Suite 400
                                   Fort Lauderdale, Florida 33309
                                   Telephone No.: (954) 374-2717
                                    jluzinski@dsiconsulting.com

DSI is well qualified to serve in the manner described in the Application. Generally, DSI will

serve as a consulting expert and, upon request, provide expert reports and testimony in

connection with the Debtors’ claims and/or defenses, including relating to the Debtors’ ability to

reorganize and the Adversary Proceeding.

       5.      Under applicable provisions of the Bankruptcy Code, and subject to the approval

of this Court, DSI will be retained by Debtors’ counsel to preserve applicable privileges and will

be paid directly by the Debtors.

       6.      The hourly rates for DSI’s personnel range from $470.00 for most junior

professionals to $815.00 per hour. My hourly rate is $745.00 per hour.

       7.      The hourly rates set forth above are DSI’s standard hourly rates charged to all

clients. These rates are set at a level designed to compensate DSI fairly for the work of its

attorneys and to cover expenses.

       8.      It is DSI's policy to charge its clients for all expenses incurred in connection with

the client's case. The expenses charged to clients include, among other things, telephone, toll and

other charges, regular mail and express mail charges, special or hand delivery charges, document

processing, photocopying charges, travel expenses, filing fees, computerized research, transcription

costs, and appearance fees. DSI will charge for these expenses in a manner and rates consistent

with charges made generally to DSI’s other clients or as previously fixed by this Court. DSI




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believes that it is fair to charge these expenses to the clients incurring them than to increase the

hourly rates and spread the expenses among all clients.

       9.      DSI acknowledges that any award of compensation and reimbursement of

expenses in this case may be subject to approval of the Court in accordance with sections 327(e)

and 330(a) of the Bankruptcy Code, Bankruptcy Rule 2016, and Local Rule 2016-1. It is understood

that the fees and costs incurred by DSI shall be billed to counsel for the Debtors and then requested

as reimbursement of costs and payable at 100%, including, without limitation, in accordance with

any monthly compensation procedures already approved by the Court. Any and all fees and costs

shall be due and payable by the Debtors.

       10.     DSI shall not categorize its billing by subject matter and in compliance with the

applicable guidelines of the U.S. Trustee's Office as all fees shall relate to the Adversary

Proceeding. There are no arrangements between DSI and any other entity to share compensation

received or to be received in connection with this Case, except as permitted under Section 504 of

the Bankruptcy Code.

       11.     Except for the continuing representation of the clients in the Adversary

Proceeding, neither I nor the firm has or will represent any other person in connection with this

Chapter 11 case or the Adversary Proceeding, and neither I nor the firm will accept any fee from

any other party or parties in this case, except as otherwise disclosed by DSI and approved by the

United States Bankruptcy Court.

       Section 327(a) Standards:

       12.     Except as otherwise provided herein, to the best of my knowledge, neither DSI nor

its personnel hold or represent any interest adverse to the Debtors or the estate in connection with the




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matters for which they are being engaged. Moreover, DSI and I are also “disinterested” personas

within the meaning of 11 U.S.C. §§ 101(14) and 327(a).

       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury under the laws of the

United States of America that the foregoing is true and correct.

Dated: January 18, 2024
                                                      /s/    Joseph J. Luzinski
                                                             Joseph J. Luzinski




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                     EXHIBIT “C”


                     Proposed Order
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                          UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF FLORIDA
                              WEST PALM BEACH DIVISION


   IN RE:                                          CASE NO. 23-17590-EPK

   MV REALTY PBC, LLC et al.,                      CHAPTER 11

            Debtors.                               (Jointly Administered)


                           ORDER AUTHORIZING EMPLOYMENT
                           OF DEVELOPMENT SPECIALIST, INC.

       THIS CAUSE came before the Court on January ____, 2024, at ______, upon the scheduled

hearing (the “Hearing”) on the Debtors’ Emergency Application for Entry of Order Authorizing

Employment of Development Specialist, Inc., as Expert Witness (the “Application”) [ECF No. _____].

In accordance with the Application, the Debtors seek authority to retain and employ Joseph J. Luzinski

(“Mr. Luzinski”) and Development Specialist, Inc. (“DSI”) as expert witness and is supported by the
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Sworn Declaration In Support of Debtors’ Emergency Application for Entry Of Order Authorizing

Employment of Development Specialist, Inc. as Expert Witness (the “Declaration”) attached to the

Application as Exhibit “B.”

       After reviewing the Application and the Declaration it appears to the Court that Mr. Luzinski

and DSI have disclosed any connections with parties in interest in the case as set forth in Fed. R.

Bankr. P. 2014 and do not hold or represent any interests adverse to the estate in connection with the

matter upon which they are being engaged within the meaning of 11 U.S.C. § 327(a) and are

disinterested persons within the meaning of 11 U.S.C. §§ 101(14) and 327(a); and it further appearing

that the relief requested in the Application is in the best interests of the Debtors’ estate, creditors and

other parties in interest and there being no opposition to the relief sought; and, the Court having

jurisdiction to consider the Application and the relief requested therein pursuant to 28 U.S.C. §§157

and 1334, and consideration of the Application and the relief requested therein being a core proceeding

pursuant to 28 U.S.C. §157(b), venue being proper before this Court pursuant to 28 U.S.C. §§1408 and

1409, and for the reasons stated on the record at the Hearing, it is

       ORDERED as follows:

       1.      The Application is GRANTED on a final basis.

       2.      The Debtors are authorized to retain and employ Mr. Luzinski and DSI for the purposes

set forth in the Application in accordance with the terms and conditions set forth in the Application and

in accordance with the terms of this Order.

       3.      DSI shall be entitle to invoice Debtors’ counsel for compensation for professional

services rendered and reimbursement of expenses incurred in connection with the Adversary

Proceeding in compliance with the applicable provisions of the Bankruptcy Code, Federal Rules of

Bankruptcy Procedure, the Local Rules, guidelines established by the Office of the United States




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Trustee for the Southern District of Florida and any other applicable procedures and orders of the

Court; provided, however, DSI shall not be obligated to categorize its billing as all services shall be

incurred in connection with the Adversary Proceeding. Moreover, although DSI shall invoice Debtors’

counsel, DSI may be paid directly by the Debtors consistent with the terms and conditions of the

Engagement Letter attached as Exhibit “A” to the Application. The amount to which DSI shall be

entitled to be paid is 100% of the fees and costs incurred, as such fees and costs would ordinarily be

billed as a cost by counsel. Such amounts may be paid as authorized by order of the Court, including

any order approving monthly compensation procedures.

       4.       The parties are authorized to take all actions necessary to effectuate the relief granted

pursuant to this Order in accordance with the Application.

       5.       The Court retains jurisdiction with respect to all matters arising from or related to the

implementation of this Order.

                                                   ###

Submitted by:

Michael D. Seese, Esq.
Seese, P.A.
101 N.E. 3rd Avenue
Suite 1500
Ft. Lauderdale, FL 33301
Telephone No.: (954) 745-5897
mseese@seeselaw.com

Copies to:

Michael D. Seese, Esq., who is directed to serve a copy of this Order upon all non-registered users or
registered users who have yet to appear electronically in this case and file a conforming certificate of
service.




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